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                           Irwin Fritchie Urquhart & Moore LLC
                         Time and Expense Details by Matter 9703.180

                             Inception - 8/2/2021




     Invoice Date       Invoice Number Invoice Amount       Adjustments


       2/9/2021             82691          $105.00               $0.00


       4/13/2021            83517         $8,100.00          -$1,522.50


       7/16/2021            85077        $1,673.50               $0.00


       Unbilled                            $948.20


   Total for 9703.180                     $10,826.70
                                           -$1,522.50   Adjustment
                                           $9,304.20




                                                                          Exhibit
                                                                           3-B
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                                 Irwin Fritchie Urquhart & Moore LLC
                                       400 Poydras Street Suite 2700
                                          New Orleans, LA 70130
                                            Telephone No. (504) 310-2100
                                                Fax No. (504) 310-2101
                                                Tax ID No. XX-XXXXXXX
__________________________________________________________________________
                                                  February 9, 2021


Westport Insurance Corp.                                                        Client:                          09703
Dave Marseille                                                                  Matter:                          00180
P.O. Box 29221                                                                  Invoice #:                       82691
Shawnee Mission , KS 66201




RE: Westport/Brian Donovan vs. Carl Barbier, et al

      Claim #: 020191412901

    Tymetrix #:
 Date       Attorney          Description                                      Hours           Rate      Amount
01/13/21      GAF             Receipt and review of 2 emails from Jim Roy       0.20         $150.00       $30.00
                              re "control" of file per Westport.
01/13/21      GAF             Email Jim Roy re "control" of file per            0.10         $150.00       $15.00
                              Westport.
01/14/21      GAF             Two emails to David Marseille re control of       0.20         $150.00       $30.00
                              file issue.
01/14/21      GAF             Receipt and review of 2 emails from David         0.20         $150.00       $30.00
                              Marseille re control of file issue.




                                                 TIMEKEEPER SUMMARY

                                                                       Hours       Rate                  Total
GAF         Fritchie, Gus A                                             0.70       150.00              $105.00

                                               TOTAL                    0.70                           $105.00




TOTAL FEES                                                                                               $105.00
TOTAL DISBURSEMENTS                                                                                        $0.00
TOTAL THIS INVOICE                                                                                       $105.00
PAY THIS AMOUNT                                                                                          $105.00
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                               Irwin Fritchie Urquhart & Moore LLC
                                     400 Poydras Street Suite 2700
                                        New Orleans, LA 70130
                                         Telephone No. (504) 310-2100
                                             Fax No. (504) 310-2101
                                             Tax ID No. XX-XXXXXXX
__________________________________________________________________________
                                                  April 13, 2021


Westport Insurance Corp.                                                      Client:                     09703
Dave Marseille                                                                Matter:                     00180
P.O. Box 29221                                                                Invoice #:                  83517
Shawnee Mission , KS 66201




RE: Westport/Brian Donovan vs. Carl Barbier, et al

    Claim #: 020191412901

     Tymetrix #: 811155        50%
     Markel #: MXXL55703      50%



 Date         Attorney     Description                                       Hours           Rate    Amount
02/04/21      EWT           Multiple email exchanges with clients             0.10         $225.00    $22.50
                            regarding co-retention for defense of Mr.
                            Herman and Mr. Roy
02/05/21      EWT           Receipt and review of complaint and begin         1.20         $225.00   $270.00
                            review and annotation of same
02/05/21      EWT           Review case record in Middle District of          0.50         $225.00   $112.50
                            Florida, download filings and rulings
02/09/21      GAF           Prepare draft Budget for Westport.                0.30         $225.00    $67.50
02/09/21      EWT           Document preparation re: draft motion and         0.10         $225.00    $22.50
                            order for extension of time to file responsive
                            pleadings
02/09/21      EWT           Document Review reading plaintiff's               1.80         $225.00   $405.00
                            complaint and related pleadings
02/10/21      EWT           Internet research re: Mr. Donovan's internet      1.40         $225.00   $315.00
                            presence, blog posts, articles and reported
                            cases involving MDL and sanctions
02/10/21      EWT           Finish review and annotation of plaintiff's       0.80         $225.00   $180.00
                            complaint
02/10/21      EWT           Document Review: review MDL docket and            0.40         $225.00    $90.00
                            select filings for download, and review same
02/10/21      EWT           Legal research re:                                0.60         $225.00   $135.00

02/11/21      GAF           Email Steven Herman and Jim Roy re                0.10         $225.00    $22.50

                                     .
02/11/21      GAF           Receipt and review of 4 emails from Steven        0.20         $225.00    $45.00
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                        Herman and Jim Roy re
                                                               .
02/11/21      GAF       Receipt and review of 6 emails from R. Klein,        0.40   $225.00         $90.00
                        S. Herman, Mark Barbre, R. Jones re
                                .
02/11/21      EWT       Multiple email exchanges with clients                0.10   $225.00         $22.50
                        regarding billing rates and transfer to
                        Louisiana
02/11/21      EWT       Multiple email exchanges with Mr. Herman,            0.20   $225.00         $45.00
                        Mr. Roy, et al. regrading

02/12/21      GAF       Email Rick Stanley re                         .      0.10   $225.00         $22.50
02/12/21      GAF       Receipt and review of 3 emails from Rick             0.30   $225.00         $67.50
                        Stanley re                    .
02/12/21      EWT       Legal research re:                                   0.90   $225.00     $202.50

02/12/21      EWT       Multiple email exchanges with clients and            0.20   $225.00         $45.00
                        defense counsel regarding


02/22/21      GAF       Receipt and review of 2 emails from Rick             0.10   $225.00         $22.50
                        Stanley re

02/22/21      EWT       Document preparation re: begin drafting              0.70   $225.00     $157.50
                        FRCP letter and accompanying motion
02/22/21      EWT       Multiple email exchanges with Mr Stanley             0.10   $225.00         $22.50
                        regarding

02/23/21      GAF       Receipt and review of 9 emails from Mark             0.40   $225.00         $90.00
                        Barbre, Steve Herman, Jim Roy, Rick
                        Stanley re

                                       .
02/23/21      GAF       Two emails to Mark Barbre, Steve Herman,             0.10   $225.00         $22.50
                        Jim Roy, Rick Stanley re

                                                           .
02/23/21      EWT       Receipt and review of plaintiff's motion to          0.10   $225.00         $22.50
                        dismiss
02/23/21      EWT       Multiple email exchanges with clients and            0.30   $225.00         $67.50
                        defense counsel regarding


02/23/21      EWT       Legal research re:                                   0.20   $225.00         $45.00


02/23/21      EWT       Legal research re:                                   0.20   $225.00         $45.00
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02/23/21      EWT       Document preparation re: drafting                   0.40   $225.00         $90.00
                        memorandum in support of motion for
                        sanctions
02/23/21      EWT       Legal research re:                                  1.20   $225.00     $270.00


02/23/21      EWT       Multiple email exchanges with Mr. Roy and           0.10   $225.00         $22.50
                        Mr. Herman regarding


02/26/21      EWT       Document preparation re: drafting                   2.20   $225.00     $495.00
                        memorandum in support of sanctions and to
                        enjoin further filings under court's inherent
                        authority and 28 USC 1927.
03/01/21      EWT       Legal research re:                                  0.40   $225.00         $90.00




03/02/21      EWT       Document preparation re: briefing cases on          0.70   $225.00     $157.50
                        sanctions and injunction for use in motion for
                        sanctions and to enjoin
03/02/21      EWT       Document preparation re: drafting                   1.30   $225.00     $292.50
                        memorandum in support of motion for
                        sanctions, reviewing and collecting articles
                        written by Donovan to create timeline as to
                        why his claims are unreasonable and
                        untimely
03/03/21      GAF       Receipt and review of 4 emails from Jim Roy         0.40   $225.00         $90.00
                        re                              .
03/03/21      EWT       Receipt and review of e-mail from Mr. Roy           0.10   $225.00         $22.50
                        regarding
03/03/21      EWT       Multiple email exchanges with Mr. Roy               0.40   $225.00         $90.00
                        regarding

03/03/21      EWT       Receipt and review of qui tam suit from Mr.         0.70   $225.00     $157.50
                        Roy and briefly review same
03/03/21      EWT       Multiple email exchanges with Mr. Roy               0.20   $225.00         $45.00
                        regarding


03/03/21      EWT       Legal research re:                                  0.30   $225.00         $67.50

03/03/21      EWT       Document preparation re: drafting                   1.30   $225.00     $292.50
                        memorandum in support of motion for
                        sanctions
03/04/21      EWT       Document preparation re: continue drafting          1.20   $225.00     $270.00
                        memorandum in support of motion for
                        sanctions
03/05/21      GAF       Receipt and review of 2 emails from K.              0.10   $225.00         $22.50
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                        Munson re                    .
03/05/21      EWT       Multiple email exchanges with Ms. Munson          0.20   $225.00         $45.00
                        regarding
03/05/21      EWT       Legal research re:                                0.30   $225.00         $67.50


03/05/21      EWT       Document preparation re: edit and revise          1.90   $225.00     $427.50
                        memorandum in support of motion for
                        sanctions and email to clients for review
03/05/21      EWT       Multiple email exchanges with Mr. Herman          0.10   $225.00         $22.50
                        and Mr. Roy regarding
03/08/21      GAF       Receipt and review of 6 emails from Steve         0.20   $225.00         $45.00
                        Herman and Jim Roy re
                                            .
03/08/21      EWT       Legal research re: Judge Barbier's ruling on      0.20   $225.00         $45.00
                        motion to recuse and referral of Mr. Donovan
                        for disciplinary action
03/08/21      EWT       Receipt and review of e-mail from Mr. Roy         0.10   $225.00         $22.50
                        with comments on

03/08/21      EWT       Multiple email exchanges with Mr. Roy and         0.10   $225.00         $22.50
                        Mr. Herman regarding

03/08/21      EWT       Document preparation re: drafting                 0.90   $225.00     $202.50
                        memorandum in support of motion for
                        sanctions

03/09/21      GAF       Receipt and review of 5 emails from S.            0.20   $225.00         $45.00
                        Herman, J. Roy and K. Munson re


03/09/21      GAF       Edit Motion for Sanctions.                        0.50   $225.00     $112.50
03/09/21      EWT       Document preparation re: editing and              1.60   $225.00     $360.00
                        revising memorandum in support of
                        sanctions


03/09/21      EWT       Multiple email exchanges with Mr. Herman          0.10   $225.00         $22.50
                        and Mr. Roy regarding


03/09/21      EWT       Multiple email exchanges with Ms. Munson          0.10   $225.00         $22.50
                        regarding

03/09/21      EWT       Legal research re:                                0.40   $225.00         $90.00


03/10/21      GAF       Receipt and review of 9 emails from K.            0.30   $225.00         $67.50
                        Munson, J. Roy and S. Herman re
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                                                                .
03/10/21      GAF       Email K. Munson re                               0.10   $225.00         $22.50

03/10/21      EWT       Document preparation re: drafting                1.80   $225.00     $405.00
                        memorandum in support of motion for
                        sanctions and to include arguments under
                        the All Writs Act
03/10/21      EWT       Telephone conference with Ms. Munson             0.10   $225.00         $22.50
                        regarding

03/10/21      EWT       Receipt and review of e-mail from Ms.            0.40   $225.00         $90.00
                        Munson


03/10/21      EWT       Legal research re:                               0.30   $225.00         $67.50


03/10/21      EWT       Edit and revise memorandum in support of         0.60   $225.00     $135.00
                        motion for sanctions and for injunction to
                        reorder arguments in light of


03/10/21      EWT       Draft and send e-mail to Mr. Herman and Mr.      0.10   $225.00         $22.50
                        Roy


03/10/21      EWT       Multiple email exchanges with Ms. Munson         0.10   $225.00         $22.50
                        regarding

03/12/21      GAF       Receipt and review of email from K. Munson       0.10   $225.00         $22.50
                        re                                    .
03/12/21      EWT       Document preparation re: edit and revise         0.20   $225.00         $45.00
                        memo in support of motion for sanctions
03/12/21      EWT       Multiple email exchanges with Ms. Munson         0.10   $225.00         $22.50
                        regarding
03/15/21      EWT       Multiple email exchanges with Ms Munson          0.10   $225.00         $22.50
                        regarding

03/16/21      EWT       Multiple email exchanges with Ms. Munson         0.10   $225.00         $22.50
                        regarding

03/17/21      GAF       Receipt and review of 2 emails from Kathryn      0.10   $225.00         $22.50
                        re

03/17/21      GAF       Email Kathryn re                                 0.10   $225.00         $22.50


03/17/21      GAF       Study draft Motion and Memo by Pat Juneau        0.20   $225.00         $45.00
                        for sanctions/injunctive relief.
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03/17/21      EWT           Complete counsel appearance form                    0.10      $225.00           $22.50
03/17/21      EWT           Final edit and revise motion for sanctions,         0.40      $225.00           $90.00
                            check all record cites, etc.
03/18/21      GAF           Receipt and review of email from Jim Roy re         0.10      $225.00           $22.50
                                                             .
03/18/21      GAF           Email Jim Roy re                                    0.10      $225.00           $22.50
                                  .
03/18/21      EWT           Telephone conference with court staff               0.10      $225.00           $22.50
                            regarding request to file motion for sanctions
                            and case relationships needed for filing
03/18/21      EWT           Multiple email exchanges with clients               0.10      $225.00           $22.50
                            regarding
03/19/21      EWT           Edit and revise motion for sanctions to             0.20      $225.00           $45.00
                            address deficiency notice and re-file
03/23/21      EWT           Receipt and review of Mr Juneau's Motion for        0.10      $225.00           $22.50
                            Injunctive Relief
03/29/21      EWT           Draft and send e-mail to clients reporting          0.20      $225.00           $45.00




                                               TIMEKEEPER SUMMARY

                                                                    Hours            Rate               Total
EWT          Trapolin, Edward W.                                    31.50            225.00         $7,087.50
GAF          Fritchie, Gus A                                         4.50            225.00         $1,012.50

                                             TOTAL                  36.00                           $8,100.00




TOTAL FEES                                                                                            $8,100.00
TOTAL DISBURSEMENTS                                                                                         $0.00
TOTAL THIS INVOICE                                                                                    $8,100.00
PREVIOUS BALANCE                                                                                        $105.00
PAY THIS AMOUNT                                                                                       $8,205.00
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                               Irwin Fritchie Urquhart & Moore LLC
                                     400 Poydras Street Suite 2700
                                        New Orleans, LA 70130
                                         Telephone No. (504) 310-2100
                                             Fax No. (504) 310-2101
                                             Tax ID No. XX-XXXXXXX
__________________________________________________________________________
                                                 July 16, 2021


Westport Insurance Corp.                                                    Client:                     09703
Dave Marseille                                                              Matter:                     00180
P.O. Box 29221                                                              Invoice #:                  85077
Shawnee Mission , KS 66201




RE: Westport/Brian Donovan vs. Carl Barbier, et al

    Claim #: 020191412901

     Tymetrix #: 811155        50%
     Markel #: MXXL55703      50%



 Date         Attorney     Description                                     Hours           Rate    Amount
04/12/21      EWT           Telephone conference with Ms. Munson            0.10         $225.00    $22.50
                            regarding

04/12/21      EWT           Receipt and review of e-mail from Ms.           0.10         $225.00    $22.50
                            Munson with Donvan's opposition to motion
                            for sanctions
04/12/21      EWT           Receipt and review of Donvan's opposition to    0.40         $225.00    $90.00
                            motion for sanctions forwarded by Ms.
                            Munson, and have exhibits pulled from
                            record and review same
04/12/21      EWT           Receipt and review of Donvan's opposition to    0.40         $225.00    $90.00
                            Mr. Juneau's motion to enjoin forwarded by
                            Ms. Munson, and have exhibits pulled from
                            record and review same
04/12/21      EWT           Multiple email exchanges with clients           0.20         $225.00    $45.00
                            regarding




04/16/21      EWT           Receipt and review of order granting            0.10         $225.00    $22.50
                            enrollment for Mr. Roy
04/19/21      EWT           Multiple email exchanges with Ms Munson         0.10         $225.00    $22.50
                            regarding

04/20/21      EWT           Multiple email exchanges with Ms. Munson        0.10         $225.00    $22.50
                            regarding
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04/20/21      EWT       Receipt and review of Donovan's motion for           0.20   $225.00         $45.00
                        leave to file reply, proposed pleading, and
                        order denying same
04/21/21      GAF       Receipt and review of 2 emails from Steve            0.10   $225.00         $22.50
                        Herman and Jim Roy
                                          .
04/21/21      EWT       Receipt and review of Donovan's motion for           0.20   $225.00         $45.00
                        leave to file reply and proposed reply briefing
                        from Ms. Munson
04/21/21      EWT       Receipt and review of briefing order from Ms.        0.10   $225.00         $22.50
                        Munson
04/21/21      EWT       Receipt and review of Donovan's motion for           0.20   $225.00         $45.00
                        clarification and supporting memorandum
04/26/21      EWT       Receipt and review of Donovan's request for          0.20   $225.00         $45.00
                        oral argument and supporting memorandum
04/27/21      EWT       Multiple email exchanges with Ms. Munson             0.10   $225.00         $22.50
                        regarding

04/27/21      EWT       Receipt and review of judge's order and              0.30   $225.00         $67.50
                        reasons denying Donovan's multiple motions
                        and enjoining him from filing any additional
                        pleadings until court rules
04/27/21      EWT       Multiple email exchanges with Ms. Munson             0.10   $225.00         $22.50
                        regarding

04/27/21      EWT       Receipt and review of e-mail from Ms.                0.10   $225.00         $22.50
                        Munson

04/28/21      GAF       Receipt and review of email from K. Munson           0.10   $225.00         $22.50
                        re                                    .
04/28/21      GAF       Receipt and review of email from K. Munson           0.10   $225.00         $22.50
                        re                                        .
04/28/21      GAF       Study proposed reply to Donovan's latest             0.10   $225.00         $22.50
                        filings.
04/28/21      GAF       Email clients re                                     0.10   $225.00         $22.50
                                                  .
04/28/21      GAF       Receipt and review of email from Jim Roy             0.10   $225.00         $22.50
                                                              .
04/28/21      GAF       Receipt and review of email from K. Munson           0.10   $225.00         $22.50
                        re
                                 .
04/28/21      GAF       Receipt and review of 2 emails from Steve            0.10   $225.00         $22.50
                        Herman and Jim Roy re
                                            .
04/28/21      GAF       Receipt and review of email from Jim Roy re          0.10   $225.00         $22.50
                                                                .
04/28/21      GAF       Receipt and review of email from K. Munson           0.10   $225.00         $22.50
                        re                           .
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04/28/21      EWT            Multiple email exchanges with clients                   0.10   $225.00         $22.50

04/28/21      EWT            Receipt and review of Donovan's second                  0.20   $225.00         $45.00
                             motion for clarification
04/28/21      EWT            Receipt and review of draft reply brief for Mr.         0.20   $225.00         $45.00
                             Juneau from Ms. Munson
04/28/21      EWT            Document preparation re: drafting proposed              1.50   $225.00     $337.50
                             reply in support of motion for sanctions and
                             addressing Donovan's arguments in
                             opposition
04/28/21      EWT            Multiple email exchanges with Ms. Munson                0.20   $225.00         $45.00
                             regarding

04/28/21      EWT            Final revision and file Reply brief                     0.30   $225.00         $67.50
04/28/21      EWT            Receipt and review of order and reasons                 0.20   $225.00         $45.00
                             from court ordering Donovan not to file any
                             more pleadings until the court rules on the
                             motion for sanctions
04/29/21      GAF            Receipt and review of email from Jim Roy re             0.10   $225.00         $22.50
                                                            .
04/29/21      EWT            Multiple email exchanges with clients                   0.10   $225.00         $22.50
                             regarding

06/08/21      EWT            Receipt and review of order setting motion              0.10   $225.00         $22.50
                             for sanctions for oral argument
06/08/21      EWT            Multiple email exchanges with Ms. Munson                0.10   $225.00         $22.50
                             regarding


                                                    DISBURSEMENTS

04/07/21      File & ServeXpress LLC; Filing fees                                                            35.00
04/16/21      Clerk of Court, Civil District Court, Orleans Parish - court fees                               1.00
05/10/21      File & ServeXpress LLC; Reply Memorandum in Support of Motion for                              40.00
              Sanctions and to Enjoin Further Frivolous Filings

                                                                                   TOTAL                    $76.00
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                                            TIMEKEEPER SUMMARY

                                                         Hours            Rate           Total
EWT          Trapolin, Edward W.                          6.00            225.00     $1,350.00
GAF          Fritchie, Gus A                              1.10            225.00      $247.50

                                           TOTAL          7.10                       $1,597.50




TOTAL FEES                                                                                 $1,597.50
TOTAL DISBURSEMENTS                                                                           $76.00
TOTAL THIS INVOICE                                                                         $1,673.50
PREVIOUS BALANCE                                                                           $8,205.00
PAYMENTS RECEIVED                                                                          $6,682.50
ADJUSTMENT APPLIED                                                                        ($1,522.50)CR
PAY THIS AMOUNT                                                                            $1,673.50
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